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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                      Case No.: 10−27863−MBK
                                      Chapter: 7
                                      Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Russell A Raia                                           Dana M Raia
   51 Maple Ave                                             51 Maple Ave
   Asbury, NJ 08802−1021                                    Asbury, NJ 08802−1021
Social Security No.:
   xxx−xx−7632                                              xxx−xx−3364
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Andrea Dobin is discharged as trustee of the estate of the above named debtor(s) and the
bond is canceled; and the case of the above named debtor(s) is closed.


Dated: November 16, 2010                           Michael B. Kaplan
                                                   Judge, United States Bankruptcy Court
